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                       EXHIBIT C
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MONTGOMERY COUNTY                                                                         OFFICE OF THE SOLICITOR
BOARD OF COMMISSIONERS                                                            MONTGOMERY COUNTY COURTHOUSE • PO BOX 311
VALERIE A. ARKOOSH, MD, MPH, CHAIR                                                               NORRISTOWN, PA 19404-0311
                                                                                                              610-278-3033
KENNETH E. LAWRENCE, JR., VICE CHAIR
JOSEPH C. GALE, COMMISSIONER                                                          FAX: 610-278-3069• TDD: 610-631-1211
                                                                                                    WWW.MONTCOPA.ORG




                                              November 2, 2020


        Andrew Teitelman, Esquire
        Law Offices of Andrew Teitelman, P.C.
        380 Red Lion Road, Suite 103
        Huntingdon Valley, PA 19006
        Email: ateitelman@teitelaw.com


        Mr. Teitelman,

                Montgomery County is in receipt of both your October 30th and October 31st letters, and
        this correspondence shall serve as the County’s formal response to both.

                Regarding your request to allow someone from the Barnette campaign to record video of
        the canvassing process, we must decline this request. While we appreciate your assurances that
        no video will be taken which would threaten the anonymity of the votes cast, there is no way to
        ensure that something of that nature would not wind up captured on video. To allow so would be
        a violation of 25 Pa. C.S.A. Sections 1403 and 1404. In addition, Section 3146.8(g)(1.1) of the
        Election Code clearly outlines who is permitted to be present for any part of the pre-canvas or
        canvass, stating for each that “One authorized representative of each candidate in an election and
        one representative from each political party shall be permitted to remain in the room in which the
        absentee ballots and mail-in ballots are pre-canvassed” and “ One authorized representative of
        each candidate in an election and one representative from each political party shall be permitted
        to remain in the room in which the absentee ballots and mail-in ballots are canvassed.” Allowing
        for the unfettered recording of these proceedings would vitiate the purpose of limiting attendance
        as prescribed by the Election Code.

                With that said, given the stated reason for the campaign’s desire to make such a
        recording, namely “creating a contemporaneous record of the process itself” (per the email
        October 29th email of Jonathan Goldstein), the County will be recording the entirety of the
        proceedings, as monitored by the cameras in the room. This video will be preserved until such
        time as it is clear that its retention is no longer required, but at a minimum through certification
        of the election results. Please let me know if you believe that a longer retention period would be
        necessary.

              Regarding the concerns you have raised regarding greater access to the canvassing room,
        we have discussed the issue and will permit a limited number of additional certified individuals




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to be present within the room, however they will need to remain in the same area as the other
watchers and permitted observers. We will also be adding additional television monitors to both
the observation area and the overflow room.

        While we can appreciate the desire to be closer to the canvass process, given the space
constrains of the room, the ongoing pandemic, and the need to follow both Commonwealth and
local measures requiring six-foot social distancing, there is little more that can be done. The
individuals that will be working in that room have all been assured that the County will be taking
all steps possible to ensure their safety and well-being, and we are not prepared to endanger their
safety by permitting watchers or others closer access. Attached to this letter you will find a copy
of the local order from the Montgomery County Office of Public Health regarding COVID-19
mitigation measures for the General Election, including for the polling locations and the
canvassing process. I would also like to take this opportunity to remind you that, pursuant to
Section 3146.8 of the Election Code, no more than one person can be in the room on behalf of a
candidate at any time, as your initial letter was unclear as to whom it was that would be present
for candidate Barnette.

        Finally, regarding your request for Public Information Lists by noon today, I am aware
that the County provided you with the required form to be provided this information, and that as
of 11:30AM this morning, you have not yet returned that completed form. We will be happy to
provide you the information as soon as that is submitted to us with all the required information
provided.


Respectfully,



 ____________________
Joshua M. Stein
County Solicitor
Montgomery County Solicitor’s Office
One Montgomery Plaza
Suite 800
Norristown, PA 19404-0311
Phone: 610-278-3033
Fax: 610-278-3069
JStein1@montcopa.org


Cc:    Ken Lawrence, Chair, Montgomery County Election Board
       Lee Soltysiak, COO/Chief Clerk, Montgomery County Election Board




                                                                                       EX C - 2
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Andrew Teitelman

From:                              Andrew Teitelman
Sent:                              Monday, November 2, 2020 12:30 PM
To:                                Stein, Josh
Cc:                                Commissioner Kenneth Lawrence; COO; Bob Gillies; Elizabeth Havey - Dilworth Paxson
                                   LLP (epreatehavey@dilworthlaw.com)
Subject:                           RE: Response to your 10/30 and 10/31 letters


Mr. Stein – I appreciate your response to my letters and feel we may be nearing an acceptable understanding if I am
correct in my reading of why you have stated. However, there is one point of correction that I feel must be made at the
outset. I received an email from Lauren Raikowski sending me the RTK request form at 8:39 a.m. today. I will gladly fill-in
and return this form as an accommodation, but I am not corresponding with the Board of Elections as a member of the
public, per se, as I am the lawyer representing Congressional candidate Kathy Barnette and her committee, the Friends
for Kathy Barnette. So my requests are as Ms. Barnette’s legal counsel and I am both exercising and protecting her and
her committee’s rights under the Election Code and generally.

Our need for this information is to assure the transparency of the entire election process, especially the handling of the
mail-in ballots. I hope that you understand that our requests are not in the context of implying any wrongdoing - -
rather, it is the opposite, in that cooperation and transparency will help to avoid any such implications and help to
engender confidence in the electoral process in Montgomery County. Given that this is the first general election,
including the office of President of the United States, where large-scale mail-in ballots will play an overwhelmingly
significant role and that the entire process is new and virtually untested (the primary in June being the only other
example), I hope that you and the Election Board will err on the side of more transparency and not merely meeting the
legal requirements at the most minimal level.

As for the acceptable understanding noted above, will the candidates, political committees and their duly authorized
representatives have real-time access to the data streams from the cameras in the two rooms being used for the mail-in
ballot canvass? If not, how are they supposed to discover problems and be able to raise objections in a timely manner?
We respect your concerns about security and privacy and feel there are many ways, short of prohibiting real-time access
to the video data streams, to accomplish that. For instance, those being granted access could execute an oath and state
that they will keep this information in strict confidence and make no disclosures thereof other than any court action(s)
that may arise, etc. This would subject the persons with such access to criminal sanctions for any breach thereof. This is
only one example of what we can do to assure proper handling of the information and we will be glad to work with you
to a result that is satisfactory to all.

Thank you.

Andrew Teitelman, Esquire
LAW OFFICES OF ANDREW TEITELMAN P.C.
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NEW IRS RULES RESTRICT WRITTEN FEDERAL TAX ADVICE FROM LAWYERS AND ACCOUNTANTS. WE INCLUDE THIS
STATEMENT IN ALL OUTBOUND EMAILS BECAUSE EVEN INADVERTENT VIOLATIONS MAY BE PENALIZED. NOTHING IN
THIS MESSAGE IS INTENDED TO BE USED, OR MAY BE USED, TO AVOID ANY PENALTY UNDER FEDERAL TAX LAWS. THIS
MESSAGE WAS NOT WRITTEN TO SUPPORT THE PROMOTION OR MARKETING OF ANY TRANSACTION. CONTACT THE
SENDER IF YOU WISH TO ENGAGE US TO PROVIDE FORMAL WRITTEN ADVICE AS TO TAX ISSUES.

From: Stein, Josh <JStein1@montcopa.org>
Sent: Monday, November 2, 2020 12:00 PM
To: Andrew Teitelman <ateitelman@teitelaw.com>
Cc: Commissioner Kenneth Lawrence <Ken@montcopa.org>; COO <COO@montcopa.org>
Subject: Response to your 10/30 and 10/31 letters

Mr. Teitelman,

Please see the attached response to your correspondence of 10/30 and 10/31.

Joshua M. Stein
County Solicitor
Montgomery County Solicitor’s Office
One Montgomery Plaza
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Norristown, PA 19404-0311
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Fax: 610-278-3069
Joshstein@montcopa.org




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